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 1
     LAW OFFICE OF
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 4   Tel: (818)905-6484
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 5
 6   Attorney for Defendant
     YURIK SHAKHBAZYAN
 7
 8
                         UNITED STATES DISTRICT COURT
 9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         No. CR. S-05-0343 FCD
                    Plaintiff,     )
12                                 )         STIPULATION AND ORDER
     v.                            )         TO CONTINUE SENTENCING
13
                                   )         DATE
14   YURIK SHAKHBAZYAN, et al.     )
                    Defendants.    )
15   ______________________________)
16
            Defendants YURIK SHAKHBAZYAN, MANUK SHUBARALYAN and ROZA
17
18   GASPARIAN, by and through their respective attorneys of record,

19   GARO B. GHAZARIAN, JILBERT TAHMAZIAN and MARK J. WERKSMAN, and
20
     plaintiff, UNITED STATES OF AMERICA, by and through Assistant
21
     United States Attorney R. STEVEN LAPHAM, hereby seek and
22
     stipulate to a continuance of the sentencing date.
23
24          THE PARTIES HEREBY STIPULATE AND AGREE AS FOLLOWS:

25          1.   The sentencing hearing date in the above-referenced

26   matter is currently scheduled for October 27, 2008, at 10:00
27
     a.m.
28



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 1        2.   The parties stipulate and seek to continue the
 2   sentencing date from October 27, 2008 at 10:00 a.m., to January
 3
     20, 2009, at 10:00 a.m.
 4
          3.   The parties need additional time to research the legal
 5
 6   issues surrounding defendants’ sentencing and to file their

 7   sentencing memorandum and objections to the presentence
 8   investigation report.
 9
          4.   The government does not object to the continuance.
10
11
          IT IS SO STIPULATED.
12
                                       Respectfully submitted,
13
14
     Dated: October 9, 2008            ______/S/ Garo Ghazarian_____
15                                     GARO B. GHAZARIAN
                                       Attorney for Defendant
16                                     YURIK SHAKHBAZYAN
17
18   Dated: October 9, 2008            ____/s/ Jilbert Tahmazian_____
                                       JILBERT TAHMAZIAN
19                                     Attorney for Defendant
                                       MANUK SHUBARALYAN
20
21
     Dated: October 9, 2008            __ /s/ Mark Werksman          ______
22                                     MARK J. WERKSMAN
                                       Attorney for Defendant
23                                     ROSA GARSPARIAN
24
     Dated: October 9, 2008            McGregor W. Scott
25
                                       United States Attorney
26
                                       __/s/ Steven Lapham____________
27                                     R. STEVEN LAPHAM
                                       Assistant United States Attorney
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                                       Attorney for Plaintiff
                                       United States of America


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 1                                     O R D E R
 2
 3        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT
 4   the sentencing date for defendants YURIK SHAKHBAZYAN, MANUK
 5   SHUBARALYAN and ROSA GASPARIAN, in the matter of United States
 6   v. Shakhbazyan, et al., Case No. 05-CR-343 FCD, currently
 7   scheduled on October 27, 2008, at 10:00 a.m., shall be
 8   continued to January 20, 2009, at 10:00 a.m.
 9
10   Dated: October 9, 2008

11
                                        _______________________________________
12                                      FRANK C. DAMRELL, JR.
13                                      UNITED STATES DISTRICT JUDGE

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